

ORDER

PER CURIAM:
AND NOW, this 8th day of March, 2001, a Rule having been entered upon respondent by this Court on December 14, 2000, to show cause why the Order of this Court entered on August 25, 1999, should not be modified and, upon consideration of the responses filed, it is hereby
ORDERED that the Rule is made absolute, respondent’s probation is revoked and he is suspended from the practice of law for a period of one year and one day. Respondent shall comply with all the provisions of Rule 217, Pa.R.D.E. It is further ORDERED that the respondent shall pay the expenses of the investigation and prosecution of the revocation proceedings pursuant to Rule 208(g), Pa.R.D.E.
